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AFFIRMATION OF SERVICE

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Index Number: 1:24-CV-07501-JLR Date Filed: 10/4/2024

Plaintiff:
Primitivo Robles, on behalf of himself and all others similarly situated

VS.

Defendant:
Lambsbreath LLC d/b/a Lamb's Bread Dispensary

State of New York, County of Albany)ss.:

Received by Meridian Investigations & Security to be served on Lambsbreath LLC s/h/a Lambsbreath
LLC d/b/a Lamb's Bread Dispensary.

|, Patricia Burke, do hereby affirm that on the 21st day of October, 2024 at 3:15 pm, |:

served the within named Limited Liability Company, Lambsbreath LLC s/h/a Lambsbreath LLC d/b/a
Lamb's Bread Dispensary by delivering two true copies of the Summons in a Civil Action, Class
Action Complaint and Demand for Jury Trial pursuant to New York State Section 303 LLCL
together with statutory service fee in the amount of $40.00 to Colleen Banahan as Office Assistant
2 of New York State Department of State, 99 Washington Avenue, 6th Floor, Albany, NY 12210. The New
York State Department of state being the Registered Agent/Statutory Agent of record of the within named
limited liability company, in compliance with state statutes.

Description of Person Served: Age: 45, Sex: F, Race/Skin Color: White, Height: 5'4", Weight: 150, Hair:
Brown, Glasses: N

| certify that | am over the age of 18, have no interest in the above action.
| affirm on L985, le/ , under the penalties of perjury under the laws of New York, which may

include a fine or imprisonment, that the foregoing is true, and | understand that this document may be filed
in an action or proceeding in a court of law.

focess Server
Meridian Investigations & Security
48 Davis Avenue

Port Washington, NY 11050

Our Job Serial Number: SRN-2024005728

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